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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


     IN RE: NATIONAL PRESCRIPTION
           OPIATE LITIGATION

             This document relates to:
                                                             CASE NO.1:17-MD-2804
    The County of Summit, Ohio, et al. v. Purdue
                Pharma L.P., et al.
              Case No. 18-op-45090                            Hon. Dan Aaron Polster

     The County of Cuyahoga, et al. v. Purdue
               Pharma L.P., et al.
             Case No. 17-op-45004


      DEFENDANTS’ “POSITION PAPER” REGARDING ARCOS AND SUSPICIOUS
                    ORDER REPORTS PROTECTIVE ORDER


         Defendants1 submit that the Court should maintain its Protective Orders regarding both

ARCOS data and Suspicious Order Reports. While the Sixth Circuit found that there was no

good cause for a “permanent[] and categorical[]” order protecting disclosure of the ARCOS data,

the Sixth Circuit’s pronouncement is not the last word on this issue. Just two business days after

the Sixth Circuit issued its ruling in this case, the United States Supreme Court issued an opinion

in Food Marketing Institute v. Argus Leader Media, -- S.Ct.---, 2019 WL 2570624 (June 24,

2019). In that case, the Supreme Court rejected the “competitive harm” test relied upon by both

this Court and the Sixth Circuit in deciding whether Defendants had shown “good cause” for the

ARCOS Protective Order. Under the Food Marketing analysis, ARCOS data and Suspicious


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  On June 10, 2019, Insys Therapeutics, Inc. and its affiliates each filed a voluntary case under
chapter 11 of United States Bankruptcy Code in the United States Bankruptcy Court for the
District of Delaware, which cases are being jointly administered under Case No. 19-11292 (KG).
In light of this bankruptcy proceeding, Insys does not join this Position Paper.

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Order Reports are “confidential” and exempt from disclosure under FOIA and also qualify for a

protective order under Rule 26(c)(G)(1), which, like FOIA, protects “confidential . . .

commercial information.” Furthermore, because information that falls within Exemption 4 also

falls within the Trade Secrets Act, 18 U.S.C. § 1905, government officials must protect the

information from disclosure, and there is no occasion for the Court to engage in any balancing of

interests in disclosure.

        At a minimum, the Court should maintain the status quo and keep the Protective Order in

place until the Sixth Circuit has time to consider whether to rehear this issue and revise its

opinion regarding ARCOS data in light of the Supreme Court’s decision. The Sixth Circuit’s

opinion did not address Suspicious Order Reports (“SORs”) because no media entity sought

disclosure of those reports, but those reports also are exempt from disclosure pursuant to the rule

of Food Marketing.

        As also set forth below, the written directions provided by the Special Master for

redacting discovery information in briefs is inconsistent with Food Marketing. See Dkt. 1719.

Those instructions also are inconsistent with the Court’s June 28, 2019 order that “all existing

Protective Orders are reaffirmed and shall remain in place until the Court issues a ruling

determining the scope of a new Protective Order.” The Court therefore also should maintain the

status quo as to such discovery information and keep all applicable protective orders in place

until the Sixth Circuit determines how to proceed.

                                         BACKGROUND

        Issuance of the Protective Order. After Plaintiffs issued subpoenas to DEA for ARCOS

data, the Court ultimately ordered DEA “to produce transactional data for all 50 States and

several Territories from its Automation of Reports and Consolidated Orders System (‘ARCOS’)



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database.” Dkt. 800. In assessing whether the ARCOS data ought to be disclosed to Plaintiffs,

this Court considered whether production of the ARCOS data would cause Defendants

“substantial competitive harm.” Dkt. 233 at 17. The Court relied on Madel v. United States

Dep’t of Justice, 784 F.3d 448 (8th Cir. 2015), and Madel v. United States, No. 13-cv-2832, 2017

WL 111302 (D. Minn. Jan. 11, 2017), cases in which the courts analyzed whether certain limited

ARCOS data was exempt from public disclosure pursuant to Exemption 4 of FOIA because

release of the data would cause wholesale distributors and pharmacies competitive harm. Dkt.

233 at 10–13. FOIA Exemption 4 shields from disclosure “trade secrets and commercial or

financial information obtained from a person and privileged or confidential.” 5 U.S.C. §

552(b)(4) (emphasis added). In analyzing whether the requested ARCOS data was

“confidential,” the Madel courts applied the “substantial competitive harm” test and held that the

information was exempt under FOIA only if “disclosure is likely . . . to cause substantial harm

to the competitive position of the person from whom the information was obtained.” Madel, 784

F.3d at 452; Madel, 2017 WL 111302, at *3.

       This Court noted that ARCOS data is “confidential business information” and that “the

DEA does not release ARCOS data publicly.” Dkt. 800 at 1. This Court also noted that

“[e]xtensive federal laws and regulations limit the circumstances in which the DEA may disclose

ARCOS data” and that “federal regulations permit the DEA to release information it obtains ‘to

Federal, State, and local officials’ only if they are engaged in ‘the enforcement of laws related to

controlled substances’ or “the institution and prosecution of cases before courts and licensing

boards related to controlled substances.” Id. at 10 (quoting 28 C.F.R. § 0.103(a)(1)-(2)). The

Court further acknowledged that “[f]ederal law allows distributors of prescription opiates

significant protections against FOIA requests for ARCOS data. FOIA exempts from public



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disclosure any confidential commercial information, the disclosure of which is likely to cause

substantial competitive harm,” and “[i]f information falls within this exemption, it also falls

within 18 U.S.C. § 1905, and its dissemination may result in fines and/or imprisonment.” Id.

(citations omitted).

        Nevertheless, citing Madel, this Court concluded that producing ARCOS data from 2006

to 2014 to Plaintiffs (local governments) would not carry a significant risk of competitive harm

to Defendants. Dkt. 233 at 217. The Court rejected DEA’s objection that production of the

ARCOS data to Plaintiffs would interfere with ongoing DEA investigation efforts. Id. The

Court did, however, enter a Protective Order governing use and disclosure of the ARCOS data,

under which the ARCOS data would remain “confidential” and disclosure of the data could be

made only to governmental plaintiffs and State Attorneys General “for this litigation and/or law

enforcement purposes.” Dkt. 167 at 1. The Court later extended the ARCOS Protective Order to

cover SORs produced by or to the parties in the litigation. Dkt. 397.2

        The Intervenors’ Requests. After obtaining ARCOS data through discovery, several of

the MDL plaintiffs received public records requests under state disclosure laws from various

media companies, which sought disclosure of the ARCOS dataset so that they could publish it in

their newspapers. DEA and Defendants objected to disclosure on numerous grounds. The Court

permitted the media companies to intervene in the MDL litigation for the limited purpose of

addressing their public records requests, and after considering the arguments for and against

disclosure, pursuant to Federal Rule of Civil Procedure 26(c)(1), this Court found good cause on

three grounds to preserve the confidentiality of the commercially-sensitive ARCOS data: (1) the


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 The Court subsequently has amended the ARCOS Protective Order to permit disclosure of
ARCOS data to additional government entities and plaintiffs in the MDL. Dkt. 1545, 1725.
These amendments do not substantively affect the arguments made herein.

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data is not a public record of the local government plaintiffs subject to disclosure under state

public records laws; (2) disclosure would cause competitive harm to Defendants; and (3)

disclosure would threaten DEA law enforcement objectives. Dkt. 800. The Intervenors appealed

the Court’s ruling to the Sixth Circuit.

       The Sixth Circuit Decision. On June 20, 2019, the Sixth Circuit issued its opinion, in

which it held that “the district court abused its discretion in finding that good cause existed to

permanently and categorically prevent the ARCOS data from being disclosed pursuant to public

records requests.” In re: Nat’l Prescription Opiate Litigation, --F.3d---, 2019 WL 2529050, at

*13 (6th Cir. June 20, 2019). The Sixth Circuit found that the public’s interest in disclosure of

the ARCOS data outweighed any interest in nondisclosure by DEA or Defendants. The court

found the interest of Defendants’ only “slight” because “[t]he ARCOS data does not contain

sensitive information like trade secrets, and the age of the data makes the risk of anticompetitive

harm slight and speculative.” Id. at *12. The Sixth Circuit emphasized that Defendants had not

demonstrated “commercial harm” from the publication of previous limited portions of ARCOS

data and held that Defendants’ competitive interests therefore were “far outweighed by the

specific, concrete interest” provided by Intervenors and the public, and good cause had not been

shown. Id. at *12–13. The court did not dispute that ARCOS data is kept confidential by both

the reporting companies and DEA.

                                           ARGUMENT

   GOOD CAUSE EXISTS TO PROTECT ARCOS, SUSPICIOUS ORDER REPORTS,
      AND OTHER DISCOVERY MATERIAL FROM PUBLIC DISCLOSURE.

       A.      The Supreme Court’s Food Marketing Opinion.

       On June 24, 2019, two business days after the Sixth Circuit issued its ARCOS opinion in

this case, the Supreme Court issued its opinion in Food Marketing Institute v. Argus Leader


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Media, -- S.Ct.---, 2019 WL 2570624 (June 24, 2019). There, a newspaper filed a FOIA request

with the United States Department of Agriculture (“USDA”) seeking disclosure of the names and

addresses of retail stores that participate in the national food-stamp program, as well as food-

stamp data, from 2005 to 2010. Id. at *2. The USDA resisted disclosure under FOIA Exemption

4, id.—the same exemption at issue in Madel. In Food Marketing, the trial court and Eighth

Circuit had given significant attention to whether disclosure would inflict “competitive harm” to

participating retailers, id. at *2–3, just as the Eighth Circuit did in Madel and this Court and the

Sixth Circuit did in this case.

        The Supreme Court rejected the “competitive harm” test, however, holding that there is

no statutory support—or support in “dictionary definitions, early caselaw, or any other usual

source”—for grafting the requirement of competitive harm onto the definition of “confidential”

found in Exemption 4. Id. at *5. The Court held that the introduction of the “substantial

competitive harm” test in National Parks & Conservation Assn. v. Morton, 498 F. 2d 765 (D.C.

Cir. 1974), and in other cases like it, was based on a “casual disregard of the rules of statutory

interpretation” and was “a relic from a bygone era of statutory construction.” 2019 WL

2570624, at *5 (quotation marks and citation omitted). The Court held that the “term

‘confidential’ meant then [in 1966, when FOIA was enacted], as it does now, ‘private’ or

‘secret.’” Id. at *4. Thus, at a minimum, to be “confidential” under Exemption 4, the relevant

information must “customarily [be] kept private, or at least closely held, by the person imparting

it.” Id. The Court further suggested that confidentiality might also require an assurance from the

government that the information would remain secret, but ruled that “there’s no need to resolve

that question in this case because the retailers before us clearly satisfy this condition too.” Id.




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       Given those two circumstances, the Court held that, “[a]t least where commercial or

financial information is both customarily and actually treated as private by its owner and

provided to the government under an assurance of privacy, the information is ‘confidential’

within the meaning of Exemption 4” and exempt from disclosure. Id. at *7. There is no need for

a company resisting public disclosure of confidential business data under FOIA Exemption 4 to

demonstrate any competitive harm, much less “substantial” competitive harm. Id. at *6. Nor did

the Supreme Court indicate that any “balancing” of interests in disclosure versus non-disclosure

is appropriate in determining whether information is “confidential” and exempt from disclosure

under FOIA.

       B.      There is Good Cause to Exempt ARCOS Data from Public Disclosure.

       The Sixth Circuit found that this Court did not have good cause to enter a protective order

preventing the disclosure of ARCOS data to the public because, inter alia, any “competitive”

risk to Defendants from disclosure was “slight.” But the Supreme Court’s decision in Food

Marketing now makes clear that data such as ARCOS is “confidential” under Exemption 4, and

therefore exempt from public disclosure, whether or not the disclosure would work any

competitive harm to the companies that supply the data to the government. ARCOS data meets

the Food Marketing standard because the record makes it clear that Defendants keep the data

confidential, and the government not only agrees to keep it confidential, but is required by law to

keep it so except in narrow circumstances not at issue here. See supra at 3–4.

       This Court’s task is to consider whether “good cause” exists pursuant to Rule 26(c)(1) to

restrict the production or use of ARCOS data, which the Court ordered DEA to produce over its

objections. Rule 26 authorizes protective orders, inter alia, “requiring that a trade secret or other

confidential . . . commercial information not be revealed or that it be revealed only in a specified



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way.” Fed. R. Civ. P. 26(c)(1)(G). In applying Rule 26, this Court and the Sixth Circuit were

guided by FOIA. There can be no question after Food Marketing that, if Intervenors requested

the ARCOS data directly from DEA pursuant to a FOIA request,3 the data would be exempt from

disclosure. Furthermore, because Rule 26(c)(1)(G) uses the same language as Exemption 4,4 that

language should be given the same meaning as the Supreme Court gave to it in Exemption 4.

        Whether there is good cause under Rule 26 to prevent disclosure of the data through the

vehicle of this litigation is resolved by the Trade Secrets Act, 18 U.S.C. § 1905. Courts have

long recognized that the Trade Secrets Act’s prohibitions are at least as broad as Exemption 4

and are mandatory. See, e.g., CNA Fin. Corp. v. Donovan, 830 F.2d 1132, 1151–52 (D.C. Cir.

1987) (“It is our considered view . . . that the scope of the [Trade Secrets] Act is at least co-

extensive with that of Exemption 4 of FOIA, and that, in the absence of a regulation effective to

authorize disclosure, the [Trade Secrets] Act prohibits [an agency] . . . from releasing any

information . . . that falls within Exemption 4.”). In other words, if information falls within

Exemption 4, the Trade Secrets Act requires that it be withheld. Now that the Supreme Court

has clarified the meaning of Exemption 4 to cover commercial information that “is both

customarily and actually treated as private by its owner and provided to the government under an

assurance of privacy,” Food Marketing, 2019 WL 2570624, at *7, and because the Trade Secrets




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 DEA and Defendants maintain that that was the proper procedural vehicle for the media
companies to seek the ARCOS data because ARCOS is a federal record and is in the possession
of local governments only because they received the data as part of discovery in civil litigation.
Neither ARCOS, nor suspicious order reports, are records ordinarily available to or in the
possession of local governments.
4
  Rule 26(c)(1)(G) (“confidential . . . commercial information”); Exemption 4 (“commercial . . .
information [that is] confidential”).

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Act requires government officials to protect such information from disclosure, there is ample

good cause for this Court’s existing protective order.

       Nor is there any occasion for balancing competing interests in disclosure because, in the

case of confidential commercial information, Congress in the Trade Secrets Act has struck the

balance in favor of non-disclosure. And even if balancing were appropriate, the “balancing” of

interests engaged in by the Sixth Circuit is no longer valid under Food Marketing. The Sixth

Circuit found that the companies’ interests in non-disclosure were slight because it focused only

on whether there would be competitive harm to the companies from disclosure. Under Food

Marketing, that is not a proper consideration and certainly not a proper basis on which to

conclude that no confidentiality protections ought to attach to the ARCOS data.

       C.      There is Good Cause to Exempt Suspicious Order Reports from Public
               Disclosure.

       The Court also should maintain the Protective Order over Suspicious Order Reports

(“SORs”). First, those reports indisputably meet the Food Marketing “confidentiality” test: both

Defendants and DEA maintain SORs data as confidential business data that is not shared with

the public. For the reasons stated above, this alone is sufficient to support a good cause finding

under Rule 26(c)(G)(1) preventing disclosure.

       Second, as the Court notes, the Sixth Circuit did not address SORs because Intervenors

did not seek disclosure of those reports, and the Sixth Circuit therefore did not order that any

modifications of the Protective Order be made regarding those reports. Dkt. 1725. Third, SORs

have been produced only through discovery and have not been included on the Court’s docket.

As both the Sixth Circuit and this Court have noted, “there is a lower requirement for protective

orders relating to discovery, during which secrecy is permitted, than for orders to seal court

records, which carry a strong presumption of openness.” In re Nat’l Prescription Opiate Litig.,


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2019 WL 2529050, at *9 (citing Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d

299, 305 (6th Cir. 2016)).

       Fourth, because no third party has sought disclosure of SORs, no one has demonstrated a

public interest in those documents. The Sixth Circuit found that the public has a significant

interest in disclosure of ARCOS data because that data “provid[es] invaluable, highly-specific

information regarding historic patterns of opioid sales.” 2019 WL 2529050, at *10 (quoting Dkt.

397). The court also found that “[t]he ARCOS data will aid us in understanding the full

enormity of the opioid epidemic and might thereby aid us in ending it.” Id. Based on arguments

made by Intervenors, the court also found that the public has an interest in knowing how many

prescription opioids were shipped to which pharmacies and in what dosages. Id. SORs do not

provide any of that information. They do not reveal historic patterns of opioid sales or show

which pharmacies or practitioners got what pills in what dosages. If SORs are made public,

hundreds or thousands of local pharmacies and individual practitioners will be revealed to have

had orders reported to DEA as “suspicious” under the terms of the CSA’s implementing

regulation. These entities and individuals no doubt will be subject to media scrutiny even though

a reported SOR does not necessarily reflect any wrongdoing by any pharmacy or practitioner,

and certainly not every SOR reflects a shipment that was likely to be, or was, ever diverted or

caused anyone any harm. SORs are a tool used by distributors and manufacturers to aid DEA in

its law enforcement duties. Because SORs do not tell the public anything about what actually

happened with respect to opioid distributions or sales “on the ground,” the public has no, or at

most, a very minimal, interest in disclosure of those documents.




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       Thus, even if the Court were to engage in a balancing of the public’s interest in disclosure

versus Defendants’ interests in confidentiality, the public’s interest is minimal, if any, and

outweighed by the confidentiality protections afforded the reports.

       D.      There is Good Cause to Exempt Additional Confidential Business Data from
               Public Disclosure.

       Food Marketing also impacts the written directions provided by the Special Master for

redacting information contained in briefs and exhibits—directions that expressly are based on the

Sixth Circuit opinion. See Dkt. 1719 at 1 n.1. The Special Master’s directions state:

“Information that is considered ‘business confidential’ but that is not a bona fide trade secret

does not qualify for redaction.” Id. at 3 n.4. This standard implicitly is rejected by Food

Marketing, which, as noted above, preserved confidentiality for material that is “customarily

kept private, or at least closely held, by the person imparting it.” Food Marketing, 2019 WL

2570624, at *4. As also noted above, the Supreme Court interpreted the same terms—

confidential commercial information—as appear in Rule 26(c)(1)(G). Thus, the Special Master’s

directions on sealing briefs are not consistent with Food Marketing and should be revised

accordingly.

       E.      At a Minimum, the Court Should Maintain Its Protective Orders in Effect
               Until the Sixth Circuit Has an Opportunity to Decide Whether To Revisit Its
               Ruling In Light of Food Marketing.

       With the benefit of Food Marketing, the Sixth Circuit may have affirmed this Court’s

order, or at the very least remanded for this Court to determine good cause in light of Food

Marketing. Both this Court and the Sixth Circuit found that the ARCOS data was confidential,

and both the Sixth Circuit and this Court relied on the Madel cases that utilized the “substantial

competitive harm” standard that Food Marketing rejected. Under Food Marketing, it makes no




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difference whether the competitive harm to Defendants from disclosure of ARCOS is “slight and

speculative.”

        Under Federal Rule of Appellate Procedure Rule 41(b), the Court of Appeals mandate

does not issue until seven days after the time for a rehearing petition elapses. And under Rule

40(a)(1), the parties have 45 days after the entry of judgment to seek rehearing by the panel or an

en banc rehearing. DEA and Defendants should be allowed an opportunity to exercise that right

in light of Food Marketing. If this Court orders ARCOS data to be released to the public before

that 45 days has expired—or, if a petition for rehearing is sought, before the Sixth Circuit has

time to consider it—the Court effectively will have denied DEA and Defendants their ability to

seek rehearing and denied the Sixth Circuit the opportunity to consider its ruling in light of

binding Supreme Court precedent.

         Defendants therefore ask the Court to maintain the status quo at least until the rehearing

process has time to play out in the Sixth Circuit. For the same reasons, the Court should defer

any decision to unseal confidential business data attached to court filings pending the conclusion

of the appeal process in the Sixth Circuit.

                                         CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court maintain its

Protective Orders regarding all ARCOS data, SORs, and discovery material attached to court

filings at this time.



Dated: July 3, 2019                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Ashley W. Hardin, hereby certify that the foregoing document as served via the Court’s

ECF system to all counsel of record.



                                            /s/ Ashley W. Hardin_________
                                            Ashley W. Hardin




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